                   Case
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MANDATE                                                                                       N.D.N.Y
                                                                                             16-cv-992
                                                                                          Suddaby, C.J.

                            United States Court of Appeals
                                                 FOR THE
                                          SECOND CIRCUIT
                                          _________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 20th day of November, two thousand twenty.

     Present:
                    Debra Ann Livingston,
                          Chief Judge,
                    Amalya L. Kearse,
                    Richard C. Wesley,
                          Circuit Judges.

     Khari Devon Coley,

                                  Petitioner-Appellant,

                    v.                                                        20-600

     Superintendent,

                                  Respondent-Appellee,


     State of New York,
                                  Respondent.


     Appellant, pro se, moves to proceed in forma pauperis and for a certificate of appealability.
     However, this Court has determined sua sponte that the notice of appeal was untimely filed. Upon
     due consideration, it is hereby ORDERED that the appeal is DISMISSED for lack of jurisdiction.
     See 28 U.S.C. § 2107; Bowles v. Russell, 551 U.S. 205, 214 (2007). It is further ORDERED that
     Appellant’s motions are DENIED as moot.

                                                 FOR THE COURT:
                                                 Catherine O’Hagan Wolfe, Clerk of Court




MANDATE ISSUED ON 12/28/2020
